                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE CONFERENCE
OF THE NAACP, CHAPEL HILL—
CARRBORO NAACP, GREENSBORO
NAACP, HIGH POINT NAACP, MOORE
COUNTY NAACP, STOKES COUNTY
BRANCH OF THE NAACP, WINSTON-          Case No. 1:18-CV-1034
SALEM—FORSYTH COUNTY NAACP,
                           Plaintiffs,
  v.

ROY ASBERRY COOPER III, in his official
capacity as the Governor of North Carolina;
ROBERT CORDLE, in his official capacity as
Chair of the North Carolina State Board of
Elections; STELLA ANDERSON, in her                  MOTION TO INTERVENE
official capacity as Secretary of the North
Carolina State Board of Elections; KENNETH
RAYMOND, JEFFERSON CARMON III, and
DAVID C. BLACK, in their official capacities
as members of the North Carolina State Board
of Elections,

                                       Defendants
 and

 VOTER INTEGRITY PROJECT NC, INC.,

                Proposed Defendant-Intervenor.



       The Voter Integrity Project NC, Inc. (VIP-NC) by and through undersigned

counsel, respectfully move this Court for leave to intervene as Defendant as a matter of

right under Rule 24(a)(2) of the Federal Rules of Civil Procedure, or, in the alternative,


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permissively under Rule 24(b)(1). Pursuant to Federal Rule of Civil Procedure 24, VIP-

NC’s proposed responsive filing is attached to this motion.

       Counsel for VIP-NC contacted counsel for the parties to request consent to this

motion. Counsel for the State Board Defendants stated that they object to this motion.

Counsel for Plaintiffs stated that they oppose this motion and intend to file a response in

opposition.

       In support of this motion, VIP-NC submits the accompanying supporting

memorandum of points and authorities.

Dated: March 26, 2020

Respectfully Submitted,

 /s/ Kaylan L. Phillips
Kaylan L. Phillips
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Counsel for Proposed Defendant-Intervenor


  /s/ Timothy R. Haga____________
Timothy R. Haga (NC Bar 33963)
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Local Civil Rule 83.1 Counsel for Proposed Defendant-Intervenor




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                                CERTIFICATE OF SERVICE

       I certify that on March 26, 2020, I caused the foregoing to be filed with the United

States District Court for the Middle District of North Carolina via the Court’s CM/ECF

system, which will serve all registered users.

                                           /s/ Kaylan L. Phillips
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                                          Indianapolis, Indiana 46204
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